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                             IN T H E U N ITEDSTATESDISTRICTCOURT
                          F O RT H E M I D D L ED I S T R I C T
                                                              OF PENNSYLVANIA

PA U LW . DA V ID ,l l a n d S H A R ONK.                 :        CIVILACTIONNO.
DAVID

VS.                                                       :
                                                          :
U N I T E DST A T E SOF A ME R IC A                       :

                             C OMP L A IN TW ITHCERTIFICATE
                                                          OF M ERIT

         1.                                                           "Mr . David")is an adultindiv i dual
                   T h e p l a i n ti ffP a u lW. Davidll ( her einafter

w h o r e s i de sa t 2 4 9 S o u thN i n thS tr eet,Lehighton,
                                                             PA 18235.

         2.        T h e p l a i n ti ff                            "M r s.David")is an adult
                                      S h a ro nK. David( her einafter

individual
        who residesat 249 SouthNinthStreet,Lehighton,PA 18235and is the wife of

M r .D a v i d .

         3.                                               be referredto as "the plaintiffs."
                   Mr. Davidand Mrs. Davidshallcollectively

         4.        The defendantUnitedStatesof America(hereinafter
                                                                 "thedefendant").

                                                                  "theVA"),
throughits agency,the U.S. Departmentof VeteransAffairs(hereinafter

                       VeteransAffairsMedicalCenter,which is locateda|1111
operatesthe Wilkes-Barre

                                                           "theW - B VA") .
E a s tEn d B l vd .,Wi l ke s-B a rreP,A 18711( her einafter

         5.        T h i sa cti o na g a i n stthe defendantis beingbr oughtunderthe Feder alTor t

C l a i m sA c t ,2 8 U . S . C 5. 2 6 7 1, e f s e q .a n d2 8 U . S . C S
                                                                          . 1 3 4 6 ( b X 1f)o, r t h e n e g l i g e n caen d

          malpracticein connectionwiththe medicalcare providedto Mr. Davidat
professional

the W-B VA.

         6         T h e p l a i n ti ffs
                                        h a vefu llycom pliedwiththe pr ovisions
                                                                               of 28 U.S.C.$2675of

the FederalTort ClaimsAct. StandardForm95 for Mr. David'sclaimis attachedhereto

a n d m a r k edE xh i b i"t 1 ." S ta n d a rdFor m95 for M r s.David' sclaimis attachedher et oand
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m a r k e dExh i b i"t 2 ." T h e sefo rmswer e r eceivedby the VA on Febr uar y6, 2018. Mr .

Davidhas statedin his StandardForm95 that he has suffereddamagesin the amount

o f $ 1 0 , 0 00 ,0 0 0 .0 0 Mrs.
                             .   D a vi dhas statedin her Standar dFor m95 thatshe has

s u f f e r e d a ma g e si n th e a mo u n tof $5,000,000.00

        7.      On Octo b e r2 4 ,2 0 14,a CT scanof the abdom enand pelviswithand

                          "the 10124114
withoutcontrast(hereinafter          CT scan")was performedon Mr. Davidat the

                                                                    "Dr.Veera").
W-B VA at the requestof JyothiVeera,M.D.,a staffinternist(hereinafter

        B.      T h e 1 0 1 2 4 1 1C4T scanwas r eadby KapilaVor a,M.D.,a staffr adiologi s t

                                 "Dr.Vora"). Dr. Vora was actingin the courseof
and employeeof the VA (hereinafter

and withinthe scopeof her employmentwiththe VA when she readand reported

f i n d i n g sw i thre g a rdto th e 1 0 1 2 4114
                                                CT scan

        9.      D r.V o ra 'si mp re ssion            CT scanwas "lncr easein sizeof the
                                         of the 10124114

l i v e rn o d u l esi n cep ri o rto C T o f chestobtainedon 3/1412014.
                                                                       lt does not have

                                          of hemangioma.MRI withoutand with
            of cystor definitecharacteristic
characteristic

contrastis recommended
                     to ruleout hepatoma."

        10.     In fact, Dr. Vora shouldhaveobservedand reportedafterreadingthe

            C T sca nth a t Mr. D a vi dhad a solidlesionwithinthe m esenter y.The
1 0 1 2 4 1 14

mesenteryis a continuousset of tissuesthat attachesthe intestinesto the abdominal

wall. lt was a deviationfrom the standardof carefor Dr. Vora to fail to observeand

reportthe lesionafterreadingthe 10124114
                                      CT scan.

        11.     On N o ve mb e2r 4 ,2 014,an M RIof the abdomenwithand withoutcontr as t

          "the 11124114
(hereinafter          MRI scan")was performedon Mr. Davidat the W-B VA at the

requestof Dr.Veera.



                                                    2
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         12       T h e 1 1 1 2 4 1 1M4R Is c a nw a s r e a db y C h r i s t o p h eNr. C h a p m a nM
                                                                                                      , . D . ,a

                                                                    "Dr .Chapm an") Dr
                          a n d e mp l o ye eo f the VA ( her einafter
s t a f fr a d i ol o g i st                                                        . . Chapm an

                                                                             withthe VA wh en
w a s a c t i ngi n th e co u rseo f a n d w i thinthe scopeof his em ploym ent

                                                                       M RI scan.
h e r e a da n d re p o rte dfi n d i n g sw i th r egar dto the 11124114

         13.      D r. C h a p ma n 'si mp r ession            M RI scanwas "Righthepati c
                                                  of the 11124114

                                                   consistentwith benign
                     with CT scanwith characteristics
dome lesioncorrelating

                           cystwithinthe leftlobeanteriorly.Examotherwise
hemangioma.Tiny subcentimeter

u n r e m a r ka b l e ."

         14.      In fact, Dr. Chapmanshouldhaveobservedand reportedafterreadingthe

      MRI scanthat therewas a mesentericlesion. lt was a deviationfrom the
11124114

standardof carefor Dr. Chapmanto fail to observeand reportthe mesentericlesion.

         15.                                     pr oper lyr eadthe 10124114
                  H a dth e sta ffra d i o l ogists                       CT scanor the

1 1 1 2 4 1 1M4R l ,tre a ti n gp h ysi ci a ns                               the pr esenc eof
                                              wouldhavetakenstepsto deter m ine

a n e u r o en d o cri n(ael soca l l e da car cinoid)
                                                    tumorin the mesenter y.Onceidentifieas
                                                                                        d a

            tumor,surgerywouldhavebeen performedto removeit. lf this were a
neuroendocrine

                                                             and it couldbe com pletely
s i n g l et u mo rw i thn o e vi d e n ceo f secondar disease
                                                       y

removed,the surgerywould have potentially
                                        beena curativetreatment.In the

          such surgeryis designedto reducethe amountof cancercellsin the body
alternative,

                to improvesymptomsand managethe disease. Surgeryis then used
and is undertaken

             with othertypesof treatment.
in combination

         16.      Mr. D a vi du n d e n rrent          on June 10,2015. Following
                                           a colonoscopy                        the

                                                        tim esper day. At times,the chr onic
                   Mr. D a vi dh a d d i a rr heamultiple
c o l o n o s co p y,

diarrheawas severewith bowelmovementseveryhour. Mr. Davidwas exhibiting
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symptomsassociatedwith carcinoidsyndrome.Carcinoidsyndromeoccurswhena

                d mo rse cre te sch e mi cals,
c a r c i n o i tu                                          causinga var ietyof sym pt om s
                                            suchas ser otonin,

                g a rrh e a .Mr. D a vi dsu ffer edfr omthisdiar r heafr om shor tlyafterJune 10 ,
i n c l u d i n di

2 0 1 5 t, o F e b r u a r2y 2 , 2 4 1 6 .

         17.                                                 to properlyreadthe imaging
                   Becauseof the failureof the VA radiologists

                          r 4 ,2 0 1 4 ,a n d November24,2014,Mr . David' shealthcar pr
s t u d i e so f Octo b e 2                                                          e ovi der s

                                                            tum orof the smallbowelr egion .
d i d n o t k n o wth a t Mr. D a vi dh a d a neur oendocr ine

Theywerethinkingthat Mr. Davidwas eithersufferingfrom irritablebowelsyndromeor

                                              colitis.In the past,Mr . Davidhad beendiagnos ed
a n a c u t eexa ce rb a ti oonf u l ce ra tive

as sufferingfrom ulcerativecolitis.

         18.       On F e b ru a ry5 ,2 0 1 6,Mr . DavidsawAndr ewSchwar tz,M.D.,a

                          "Dr. Schwaftz").By that time, Mr. Davidwas having15
               (hereinafter
gastroenterologist

to 20 bowelmovementsa day, had lost40 to 45 pounds,and was havingleft lower

                                        performinga colonoscopy
quadrantpain. Dr. Schwartzwas considering

         19.       A C T sca no f th e a bdomenand pelviswithoutcontr astand an M RI of the

abdomenwith and withoutcontrastwere performedon February9 and 10,2016. The

CT scanimpressionincluded"3.6 cm centralmesentericsofttissuemass. Differential

                            ve rsu sma l i g n ant/neoplastic
i n c l u d e sca rci n o i d                                           The M RI im pres s i on
                                                         lym phadenopathy."

s t a t e da, mo n go th e rth i n g s," P a ti enthas a m esenter ic
                                                                    masswhichis incompletel y

imagedon the currentstudy. The visualizedportiondemonstrates
                                                           onlyvery mild

e n h a n c e me nwti th i nth i s. N e ve rtheless,                   is suspicious
                                                  the imagingappear ance           for

c a r c i n o i or
                d d e smo i dtu mo r."
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        20.      D r. S ch w a rtzp e rfo r m ed           on Febr uar y17,2016. Accor di ng
                                               a colonoscopy

                                      was advancedno fartherthan 30 cm to the
to Dr. Schwartz'sreport,the colonoscope

s i g m o i dc o l o n ,a n d th e d o cto rfo u ndsever ecolitisin the sigmoidcolon,r ectosigm oi d

j u n c t i o nan
               , d th e re ctu m.

        21.      F o l l o w i n th                Mr . Davidhad sever eabdominalpainwit h
                                 g e co l o n oscopy,

                                  , n d vo miting.He was seenin the em er gencyr oomof Lehi gh
                , ve r,n a u se a a
d i a r r h e afe

                      l e re i n a fte" th
V a l l e yH osp i ta(h                 r eL VH")on Febr uar y22,2016.

        22.      A CT scan of the abdomenand pelviswith contrastwas performedon

                                                         a "m ildpneum oper itoneum
       y 2 ,2 0 1 6 ,a tth e L V H . T he r adiologistfound
Februar2                                                                         wi th

g a s i n t h e a n te ri olre ftu p p e rq u a dr antand adjacentto the pr oximaldescending
                                                                                           col on

                         t rro u n d i nign fi l tr ation
w i t hs i g n i fi ca nsu                                            fluid. A dot of gas is seen
                                                        and nonloculated

withinthe wall of the proximalleftcolonwhichmay representsite of colonicperforation."

         23.     As a resultof the imagingfindingof possiblecolonicperforation,
                                                                             an

          laparotomywas performedon February22,2016 at the LVH (hereinafter
exploratory

"the laparotomy").                                                    a
                The followingoccurredduringthe courseof the laparotomy:

                                                                            cavity;a significant
s i g n i f i c anatmo u n to f p u ru l e nflt u idwas foundin the abdominal

amountof masswas foundwithinthe smallboweland mesentery;therewas a

          at the splenicflexureof the largebowel;a subtotalcolectomywas
perforation

         a nodulewas notedon the surfaceof the liverand resected;and an
performed;

ileostomywas performed.

        24.      The followingwas foundfrom the specimenstakenduringthe laparotomy:

                                                               (carcinoid)
                                                  neuroendocrine
the smallbowelspecimenshad threewell differentiated

                    tumorinvadedintothe mesentery;metastatictumorto lymph
tumors;neuroendocrine
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n o d e s f; u l mi n a ndt i ffu sea cti vech r oniccolitis;and metastatic
                                                                          neur oendocr ine
                                                                                        tum ori n

the livercausedby metastasisfrom the smallbowelneuroendocrine
                                                            tumor. The

         commentedthat "serotoninmay also producecolitisand may representa
pathologist

causativefactor."

        25.      Followingthe laparotomy,
                                        Mr. Davidwas transferredto the ICU wherehe

developedsepsisand renalfailure. Moresurgerywas neededafterthe ileostomy

developedischemia.Mr. Davidwas in the LVH from February22, 2016,to June 1,

2 0 16 ( h e r e i n a fte" th
                            r eL V H h o sp i talization") .

        26.     S i n ceth e L V H h o spitalization,
                                                   M r . Davidhas beengener ally
                                                                               weakan d

has had many issueswith his ileostomy.He suffersfrom a widelymetastaticsmall

bowelneuroendocrine
                  tumor.

        27.     F a i l u reto d i a g n o sethe neur oendocr ine
                                                               tum orthat M r . Davidwas suf fer i ng

f r o mb y Octo b e o
                    r r N o ve mb eor f 2014,causedor incr eased
                                                               the likelihood
                                                                            of causi ng,

a m o n go t h e rth i n g s,th e fo l l o w i n g:
                                                  incr eased
                                                           cancercellsand tumor sin the smallb ow el

and mesenteryregion;metastasisto lymphnodes,liver,and elsewhere;carcinoid

syndromeand the symptomsassociatedwith it; excessiveserotoninand other

secretions
         whichcausedulcerativecolitisor aggravatedpre-existing
                                                             ulcerativecolitis;

fulminantulcerativecolitiswhichled to a perforation;
                                                  the needfor a subtotalcolectomy

             pulmonaryemboliassociatedwiththe severeulcerativecolitis;sepsis
and ileostomy;

and kidneyfailure;wide spreadmetastasis;
                                       symptomsassociatedwith thesedisorders

a n d p r o b le ms;
                   h e p a ti cd i se a sei;n ability
                                                    to under gofur thersur ger ies
                                                                                 to r epairabdo m i nal

problems;and reducedlifeexpectancy.




                                                     o
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          28.       The conditions,problems,and symptomsdescribedin paragraph27 have

s u b s t a n ti a lal yffe cte dMrs.D a vi d ' sr elationship
                                                            withher husband,Mr . David.

          29.       T h i ssu i th a s b e e ntim elyfiledin thattheplaintiffs
                                                                             ser vednoticeof thei r

c l a i mo n t h e U .S .D e p a rl me not f Veter ansAffair son Febr uar y6,2018,lessthantw o

yearsfromthe datethe plaintiffscouldhavefor the firsttime learnedof the presenceof

a m e s e n te rilce si o n .

          30.       A s a re su l to f th e n egligence,
                                                      car elessness,
                                                                  and br eachesof standar ds
                                                                                           of

c a r eo f t h e d e fe n d a n t,
                                b y a n d th roughits em ployees,
                                                               M r . Davidhas:

                    a.         su sta i n e dse r iousand per manent
                                                                   per sonalinjur iesin and abouthi s

body;

                    b.         i n cu rre dme dicalexpensesand otherm onetar ydamages,and w i l l

continue
       to i n cu rme d i cael xp e n sesand othermonetar ydamagesin the futur e;

                    c.         e n d u re dp a i n,suffer ing
                                                            and m entalanguish,and willcontinueto

e n d u r ep ai n ,su ffe ri n g
                               a n d me n talanguishin the futur e;

                    d.         suffereda lossof the enjoymentof life,and will continueto suffera

lossof the enjoymentof life in the future;and

                    e.         suffereda substantially
                                                    shortenedlifeexpectancy.

          31.       A s a re su l to f th e n e gligence,
                                                       car elessness,
                                                                   and br eachesof standa r ds
                                                                                             of

care of the defendant,by and throughits employees,Mrs. Davidhas beenand

continuesto be deprivedof the consortium,
                                        comfort,society,companionship,
                                                                    services,

                     o f h e r h u sb a n d .
a n d a s s i sta n ce

          W HE R E F OR Eth                  demandjudgmentagainstthe defendant
                          , e p l a i n ti ffs                                for a s um

o f $ 1 5 , 0 0 0 , 0 0 0 . p0 l0u sc o s t s .



                                                      7
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                           A R M I NF E L     , ESQUIRE
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                              B
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                              IN THEUNITED     STATESDISTRICT         COURT
                                               D I S T R I COTF P E N N S Y L V A N I A
                           F O RT H EM I D D L E

P A U LW . D A V ID ,l l a n d S H A R ONK.        :      C I V I LA C T I O NN O .
DAVID                                              :
                                                   :
VS.                                                :
                                                   :
U N I T E DST A T E SOF A ME R IC A                .

                   Certificateof Merit as to DefendantUnited States of America

      l , Ar mi nF e l d ma nE                                   licensedpr ofessional
                                        , tifythatan appr opr iate
                             , sq u i recer                                         ha s

                                           that there is a basisto concludethat
supplieda writtenstatementto the undersigned

                                                                  by licensedpr ofessionals,
t h e c a r e ,s ki l l ,o r kn o w l e d g e xe rcisedor exhibited                       Kapi l a

V o r a ,M . D .a n d C h ri sto p h eNr . C hapm an,M .D.,who wer eem ployedby the defen dant

UnitedStatesof America,by and throughits agency,the U.S. Departmentof Veterans

Affairs,in the treatment,practiceor workthat is the subjectof the complaint,fell outside

                                   l n d a rdsand thatsuchconductwas a causein br ingingabout
a c c e p t a b lpero fe ssi o n asta

harm. The claimthat the defendantUnitedStatesof Americadeviatedfrom an

acceptableprofessional                           that a licensedprofessional
                    standardis basedon allegations

                                   deviatedfrom an acceptableprofessional
for whomthis defendantis responsible

s t a n d a r d.
                   t ' /

Date:7/7/za/{
   -
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